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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANTOINETTE SUCHENKO,

                Plaintiff,                            18cv0562
                                                      Lead Case
                        v.

ECCO USA, INC.,

                Defendant.




ANTOINETTE SUCHENKO,

                Plaintiff,                            18cv0565
                                                      Consolidated Case
                        v.

HOLDINGS ACQUISITION CO., L.P.,

            Defendant.
___________________________________________________________________________



                  MEMORANDUM OPINION AND ORDER OF COURT


       Before the Court is a Motion to Dismiss for failure to state a claim and Brief in Support

of same filed by Defendant Holdings Acquisition Co, L.P. Doc. no. 75 and doc. no. 76.

Plaintiffs filed a Brief in Opposition. Doc. no. 81. The Defendant’s Motion will be DENIED

for the reasons set forth below.

       I.      Standard of Review - Rule 12(b)(6)

       In considering a Rule 12(b)(6) motion, Federal Courts require notice pleading, as

opposed to the heightened standard of fact pleading. Fed. R. Civ. P. 8(a)(2) requires only “‘a
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short and plain statement of the claim showing that the pleader is entitled to relief,’ in order to

‘give the defendant fair notice of what the . . . claim is and the grounds on which it rests.’” Bell

Atlantic Corp. v. Twombly, 550 U.S. 554, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47

(1957)).

       Building upon the landmark United States Supreme Court decisions in Twombly and

Ashcroft v. Iqbal, 556 U.S. 662 (2009), the United States Court of Appeals for the Third Circuit

explained that a District Court must undertake the following three steps to determine the

sufficiency of a complaint:

       First, the court must take note of the elements a plaintiff must plead to state a
       claim. Second, the court should identify allegations that, because they are no more
       than conclusions, are not entitled to the assumption of truth. Finally, where there
       are well-pleaded factual allegations, a court should assume their veracity and then
       determine whether they plausibly give rise to an entitlement for relief.

Connelly v. Steel Valley Sch. Dist., 706 F.3d 209, 212 (3d Cir. 2013) (citation omitted).

       The third step requires this Court to consider the specific nature of the claims presented

and to determine whether the facts pled to substantiate the claims are sufficient to show a

“plausible claim for relief.” Covington v. Int’l Ass’n of Approved Basketball Officials, 710 F.3d

114, 118 (3d Cir. 2013). “While legal conclusions can provide the framework of a Complaint,

they must be supported by factual allegations.” Iqbal, 556 U.S. at 664.

       This Court may not dismiss a Complaint merely because it appears unlikely or

improbable that Plaintiff can prove the facts alleged or will ultimately prevail on the merits.

Twombly, 550 U.S. at 563 n.8. Instead, this Court must ask whether the facts alleged raise a

reasonable expectation that discovery will reveal evidence of the necessary elements. Id. at 556.

Generally speaking, a Complaint that provides adequate facts to establish “how, when, and




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where” will survive a Motion to Dismiss. Fowler v. UPMC Shadyside, 578 F.3d 203, 212 (3d

Cir. 2009).

       In short, a Motion to Dismiss should not be granted if a party alleges facts, which could,

if established at trial, entitle him/her to relief. Twombly, 550 U.S. at 563 n.8.

       II.     Discussion

       Because the Court writes primarily for the benefit of the parties, the factual background

shall be truncated. The Court assumes all facts set forth in the Complaints to be true solely for

the purpose of deciding these Motions. Plaintiffs are blind or visually impaired individuals who

claim Defendants’ websites are not accessible to them in violation of the Title III of the

Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101 et seq.

       Defendant identifies the lead Plaintiff as a “serial website tester” with at “least thirteen

(13) active cases in the Western District of Pennsylvania.” Defendant notes that the instant case

appears “to be yet another cookie cutter Complaint [where] she alleges that

www.riverscasino.com, www.riverscasinoandresort.com and www.sugarhousecasino.com fail

to comply with the ADA.” Thus, this Court deduces that Defendant operates the three

aforementioned websites.

       Defendant essentially argues that Plaintiffs’ Complaint must be dismissed because the

DOJ has never issued implementing regulations for website accessibility. Defendant reasons

that because the DOJ has failed to implement regulations for website activity, the Plaintiff

cannot sufficiently plead an ADA violation for the website activity she was precluded from

enjoying. This Court disagrees.

       This Court previously noted in the case, Gniewkowski v. Lettuce Entertain You

Enterprises, Inc., 251 F. Supp 908, (W.D. Pa. 2017), as follows:



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           In analyzing the Parties’ respective positions on whether AmeriServ’s
           website is a “place of public accommodation,” this Court begins by
           highlighting the purpose of the ADA as stated by Congress, which reads in
           pertinent part as follows:

                  FINDINGS.—Congress finds that—(1) some 43,000,000 Americans
                  have one or more physical or mental disabilites, and this number is
                  increasing as the population as a whole is growing older; (2)
                  historically, society has tended to isolate and segregate individuals
                  with disabilities, and, despite some improvements, such forms of
                  discrimination against individuals with disabilities continue to be a
                  serious and pervasive social problem; (3) discrimination against
                  individuals with disabilities persists in such critical areas as
                  employment, housing, public accommodations, education,
                  transportation, communication, recreation, institutionalization, health
                  services, voting, and access to public services; . . . .

           AMERICANS WITH DISABILITIES ACT OF 1990, PL 101–336, July 26,
           1990, 104 Stat. 327.

           The United States Court of Appeals for the First Circuit provided a thorough,
           but succinct, summary of the purpose of the ADA based upon its legislative
           history as follows:

                   The purpose of the ADA is to “invoke the sweep of Congressional
                   authority...in order to address the major areas of discrimination faced
                   day-to-day by people with disabilities,” 42 U.S.C. §12101(b). The
                   ADA was enacted to “provide a clear and comprehensive national
                   mandate for the elimination of discrimination against individuals
                   with disabilities.” 42 U.S.C. §12101(b)(1). The purpose of Title III
                   of the ADA, is “to bring individuals with disabilities into the
                   economic and social mainstream of American life...in a clear,
                   balanced, and reasonable manner.” H.R.Rep. No. 485, 101st Cong.,
                   2d Sess., pt. 2, at 99 (1990), reprinted in 1990 U.S.C.C.A.N. 303,
                   382. In drafting Title III, Congress intended that people with
                   disabilities have equal access to the array of goods and services
                   offered by private establishments and made available to those who
                   do not have disabilities. S.Rep. No. 116, 101st Cong., 1st Sess. at 58
                   (1989).

            Carparts Distrib. Cntr., inc., v. Auto. Wholesaler’s Ass’n of New England,
            Inc., 37 F.3d 12 19, (1st Cir. 1994).

Id. at 915-916.



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          Defendant in the instant case also cited to two decisions reached by the United States

    Court of Appeals for the Third Circuit in an effort to convince this Court that a “public

    accommodation” is a physical “place.1” See Ford v. Schering-Plough Corp., 145 F.3d 601,

    613-14 (3d Cir. 1998); Peoples v. Discover Fin. Svcs., 387 Fed. Appx. 179, 184 (3d Cir. 2010).2

          In Ford, the Court of Appeals for the Third Circuit reasoned that because an insurance

    plan was offered to an employee via her employment, the employee “had no nexus to [an]

    ‘insurance office’ and thus, was not discriminated against in connection with a public

    accommodation.” 145 F.3d at 612–13. Ford did not hold that Title III ensures only physical

    access to places of public accommodation. The Court of Appeals in Ford reasoned that a

    plaintiff must have a nexus to a place of public accommodation in order to claim the protections

    of Title III. There is no dispute that Plaintiff in this case has such a nexus.

          In Peoples, a blind person was over-charged for sexual services he received from a

    prostitute. 387 Fed. Appx. at 183. He contested the amount of some of these charges through

    his credit card company (“DFS”), through which he paid for the services. Id. The Court of

    Appeals in this case noted that because the plaintiff used his Discover Card to pay for the

    transactions with the prostitute at her apartment and although DFS’s credit services could be

    used by plaintiff at a merchant’s place of accommodation, DFS itself does not own, lease or

    operate those locations. Id at 184. The Court of Appeals held, “[t]hus, because DFS’s alleged

    discrimination (i.e., the supposedly insufficient investigation of [plaintiff’s] fraud claim) in no

    way relates to the equal enjoyment of goods, services, facilities, privileges, advantages, or



1
 Although Defendant in this case also cites to case law emanating from courts in other jurisdictions, this
Court notes that those decisions have no binding authority on this Court, and thus, will not be discussed.
2
 Although this Court addressed these same two cases in great detail in Gniewkowski, the Court will
reiterate its position here.
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accommodations on physical property that DFS, rather than [the prostitute], owns, leases, or

operates, the District Court correctly granted summary judgment against [the plaintiff] on his

ADA claim.” Id. Again, in this case, the Court of Appeals essentially found the “nexus”

lacking.

       As this Court previously held in Gniewkowski, supra, the Court of Appeals for the Third

Circuit in both Ford and Peoples did not desire to expand the meaning of “place of public

accommodation” to include places where: (1) an insurance policy was issued or implemented,

or (2) a credit card company’s processing terminals were located. Importantly, however, in both

Ford and Peoples, the alleged discrimination occurred at a location where neither the insurance

carrier in Ford, nor the credit card company in Peoples, had ownership or possession, or

exercised control.

       Turning to the facts as pled and as accepted as true for purposes of deciding the Motion

to Dismiss presently before the Court in the instant case, the alleged discrimination has taken

place on property that Defendant Holdings Acquisition, CO., LP, purportedly does own, operate,

and/or control. Therefore, Plaintiff in this case has a nexus to the place of public accommodation

and thus may claim the protections of Title III.

       III.    Conclusion

       Based on the foregoing law and authority, Defendant’s Motion to Dismiss will be denied.




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                                    ORDER OF COURT

       AND NOW this 3rd day of August 2018, the Motion to Dismiss filed by Defendant

Holdings Acquisitions, CO., LP (doc. no. 75) is DENIED. Defendant is Ordered to file an

Answer to the Complaint (doc. no. 1) on or before August 13, 2018.

                                              SO ORDERED, this 2nd day of August, 2018

                                              s/ Arthur J. Schwab
                                              Arthur J. Schwab
                                              United States District Court Judge

cc:    All ECF registered counsel of record




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